          Case 2:06-cr-00096-LRS    ECF No. 147      filed 04/17/08   PageID.399 Page 1 of 5



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 5                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7
     UNITED STATES OF AMERICA,      )
 8                                  )                   No. CR-06-096-LRS-2
          Plaintiff,                )                       (CV-08-122-LRS)
 9                                  )
                 vs.                )                   ORDER DENYING
10                                  )                   §2255 MOTION
     JUAN NARANJO-GARCIA            )
11                                  )
                     Defendant.     )
12   ______________________________ )
13            BEFORE THE COURT is Defendant’s "Motion to Vacate, Set Aside, Or
14   Correct Sentence Pursuant to Title 28 U.S.C.A. §2255" (Ct. Rec. 145).
15            The court conducts an initial review of a §2255 motion. The initial standard
16   of review for motions under §2255 is whether:
17                  [I]t plainly appears from the face of the motion and any
                    annexed exhibits and the prior proceedings in the case
18                  that the movant is not entitled to relief in the district court . . . .
19   Rule 4(b), Rules Governing Proceedings in the United States District Courts
20   under Section 2255 of Title 28, United States Code. This initial review is
21   conducted prior to the court ordering the United States Attorney to file an answer.
22   Based on the court’s initial review of Defendant’s motion, it will not direct that an
23   answer be filed by the United States Attorney and the court denies Defendant’s
24   motion.
25   //
26   //
27
     ORDER DENYING
28   §2255 MOTION-                              1
      Case 2:06-cr-00096-LRS       ECF No. 147   filed 04/17/08   PageID.400 Page 2 of 5



 1   I. BACKGROUND
 2         Pursuant to a written plea agreement (Ct. Rec. 107), Defendant pled guilty
 3   to Count 2 of a superseding indictment charging him with Distribution Of A
 4   Mixture Or Substance Containing Cocaine in violation of 21 U.S.C. §841(a)(1)
 5   and 18 U.S.C. §2. He was sentenced on October 18, 2007 to a term of
 6   imprisonment of eight months and to a three year term of supervised release. (Ct.
 7   Rec. 126). Although Defendant apparently has completed the term of
 8   imprisonment, the fact he is on supervised release satisfies the “custody”
 9   requirement for bringing a §2255 motion. United States v. Monreal, 301 F.3d
10   1127, 1132 (9th Cir. 2002).
11         Defendant contends his counsel rendered constitutionally ineffective
12   assistance in that he failed to advise the Defendant of the consequences of a
13   conviction (i.e., deportation) such that Defendant’s guilty plea was not knowing
14   and voluntary.
15
16   II. DISCUSSION
17         Defendant must prove: (1) counsel’s performance was deficient, and (2)
18   movant was prejudiced by such deficiency. Strickland v. Washington, 466 U.S.
19   668, 687, 104 S.Ct. 2052 (1984). As to the first prong, there is a strong
20   presumption counsel’s performance was sufficiently effective. Id. at 689.
21   Defendant must show his counsel's performance was "outside the wide range of
22   professionally competent assistance." Id. at 690. As to the second prong,
23   Defendant must demonstrate a reasonable probability that, but for counsel’s errors,
24   the result of the proceeding would have been different (i.e., a guilty plea would not
25   have been entered). A "reasonable probability" is a "probability sufficient to
26   undermine confidence in the proceedings. Id. at 694.
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     ORDER DENYING
28   §2255 MOTION-                          2
      Case 2:06-cr-00096-LRS     ECF No. 147    filed 04/17/08   PageID.401 Page 3 of 5



 1         A guilty plea must be a knowing and intelligent act performed with
 2   sufficient awareness of the relevant circumstances and likely consequences. In
 3   order for a criminal defendant to make an intelligent assessment of the relative
 4   advantages of pleading guilty, it is incumbent upon counsel to provide his client
 5   with necessary and accurate information. A mere inaccurate prediction, standing
 6   alone, will not constitute ineffective assistance, but “gross mischaracterization” of
 7   the likely outcome presented by a case, along with “erroneous advice” falls below
 8   the level of competence required of defense attorneys. Iaea v. Sunn, 800 F.2d 861,
 9   865 (9th Cir. 1986).
10         An attorney’s failure to advise a client of the immigration consequences of a
11   conviction, without more, does not constitute ineffective assistance of counsel.
12   United States v. Fry, 322 F.3d 1198, 1200 (9th Cir. 2003). This is because
13   deportation is a collateral consequence, not a direct consequence of the criminal
14   process. Id., citing Torrey v. Estelle, 842 F.2d 234, 237 (9th Cir. 1988), and
15   Fruchtman v. Kenton, 531 F.2d 946, 949 (9th Cir. 1976). Where, however, counsel
16   has not merely failed to inform, but has effectively misled, his client about the
17   immigration consequences of a conviction, counsel’s performance is objectively
18   unreasonable under contemporary standards for attorney competence. United
19   States v. Kwan, 407 F.3d 1005, 1015-16 (9th Cir. 2005).
20         The record shows Defendant’s counsel neither failed to inform or
21   effectively misled the Defendant that deportation was a potential, indeed probable,
22   consequence of his conviction. During the change of plea hearing before the
23   Honorable Robert H. Whaley, Defendant’s counsel specifically advised the court
24   that Defendant was not a U.S. citizen and that he had told the Defendant this
25   would “probably impact” his ability to stay in the United States and would
26   “probably” result in him being deported. Judge Whaley agreed with that
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     ORDER DENYING
28   §2255 MOTION-                          3
          Case 2:06-cr-00096-LRS   ECF No. 147    filed 04/17/08   PageID.402 Page 4 of 5



 1   assessment and asked the Defendant if he understood this. The Defendant
 2   responded affirmatively. (Ct. Rec. 146 at p. 13).
 3            The balance of the plea colloquy between Judge Whaley and the Defendant
 4   clearly establishes that Defendant’s plea of guilty was knowing and voluntary. In
 5   his own words, the Defendant stated that he had drugs on his person and sold them
 6   to another individual in order to make money to buy more drugs for his personal
 7   use. Asked by Judge Whaley whether had sold drugs to an undercover agent for
 8   money and knew it was cocaine, the Defendant responded affirmatively. (Ct. Rec.
 9   146 at pp. 13-14).
10            Despite Defendant’s conviction, through the efforts of his counsel, the
11   Defendant received a very favorable plea agreement which ultimately resulted in
12   him receiving a term of only eight months imprisonment on a charge carrying a
13   statutory maximum of 20 years imprisonment. Accordingly, the court finds the
14   performance of Defendant’s counsel was not objectively deficient and he did not
15   render ineffective assistance to the Defendant.
16
17   III. CONCLUSION
18            It "plainly" appears from the face of the §2255 motion and the prior
19   proceedings in the case that Defendant is not entitled to relief. Therefore, it is not
20   necessary to direct the United States to file an answer to the motion and it is not
21   necessary to conduct an evidentiary hearing.
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     ORDER DENYING
28   §2255 MOTION-                            4
      Case 2:06-cr-00096-LRS     ECF No. 147    filed 04/17/08   PageID.403 Page 5 of 5



 1         Defendant’s "Motion to Vacate, Set Aside, Or Correct Sentence Pursuant to
 2   Title 28 U.S.C.A. §2255" (Ct. Rec. 145) is DENIED.
 3         IT IS SO ORDERED. The District Court Executive is directed to file this
 4   Order and provide copies to Defendant and to counsel for the United States.
 5         DATED this     17th     day of April, 2008.
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                                      s/Lonny R. Suko
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                                      LONNY R. SUKO
 8                               United States District Judge
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     ORDER DENYING
28   §2255 MOTION-                          5
